          Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

RYAN LAW FIRM, LLP,                             §
                                                §
                                                §
       Plaintiff,                               §
                                                §
V.                                              § Civil Action No. 1:19-cv-629-RP
                                                §
NEW YORK MARINE AND GENERAL                     §
INSURANCE COMPANY,                              §
                                                §
       Defendant.                               §


               PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
                DEFENDANT’S OBJECTION TO THE REPORT AND
            RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER

       Plaintiff Ryan Law Firm, LLP (“Ryan Law”) files this Response to Defendant New York

Marine and General Insurance Company’s (“NYM’s”) Objection to The Report and

Recommendation of Magistrate Judge Hightower (Dkt. 48) and would respectfully request that

the Court overrule NYM’s objection and adopt the recommendation and report of Magistrate

Judge Hightower, as follows:

                      I.    SUMMARY IN RESPONSE TO OBJECTION

       NYM’s Objection to Magistrate Judge Hightower’s Report and Recommendation is

nothing more than a repackaging of its first and second motions for summary judgment. NYM

attempts by this Objection to have yet another opportunity to raise the same issues Magistrate

Judge Hightower has already rejected.

       NYM’s extensive discussion of Stowers is entirely irrelevant to the analysis of Ryan

Law’s contractual claim for coverage (or NYM’s defense based on the consent-to-settle clause).

Stowers does not serve as a limitation on an insured’s contractual or statutory rights. It is merely

PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                PAGE 1
          Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 2 of 11




another, common law cause of action which provides another basis for recovery by an insured.

No court—none—has ever used Stowers to limit an insured’s contractual rights. The only issue

here is whether Magistrate Judge Hightower correctly concluded that (a) NYM must demonstrate

prejudice to avoid coverage based on the Policy’s consent-to-settle clause, and (b) NYM failed to

adequately demonstrate any identifiable prejudice. Magistrate Judge Hightower’s conclusions

were correct on both fronts.

       As made plain by the Texas Supreme Court’s decision in Lennar Corp. v. Markel Am.

Ins. Co., 413 S.W.3d 750 (Tex. 2013), along with a host of other courts to consider the issue

subsequently, Texas law is clear that an insurer must demonstrate prejudice in order to rely on

the Policy’s consent-to-settle clause. NYM continues to argue two pre-Lennar cases, but neither

Maldonado nor Motiva supplants this well-founded rule. Moreover, nothing about the language

of NYM’s Policy requires a different conclusion.

       Here, NYM has demonstrated no specific prejudice. It merely claims a purported lost

right to control the defense and try the case. NYM cannot simply cite to the lost right to control

the defense as ipso facto evidence of prejudice. Otherwise, every case would find prejudice as a

matter of law, and there would be no discussion of the requirement for a specific showing of

prejudice.   NYM can cite to no specific evidence of prejudice here. It cannot identify, for

example, that it would have obtained a better settlement or a better result at trial.

       Magistrate Judge Hightower’s Report and Recommendation is well-founded and well-

reasoned. There is no error in her conclusions or her rationale. The Court should adopt the

Report and Recommendations, overrule NYM’s Objection to same, and deny NYM’s motion for

summary judgment (Dkt. 18).




PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                              PAGE 2
            Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 3 of 11




                           II.        ARGUMENT & AUTHORITIES

A.        NYM’s Discussion of Stowers Is Irrelevant To Ryan Law’s Contractual
          Claim.

          NYM uses its Objection in part as a basis to re-urge its Second Motion for Summary

Judgment on the issue of NYM’s alleged extra-contractual liability under Chapter 541 (Objection

at 2-6), which is currently pending before the Court. See Dkt. 41. NYM’s extensive discussion

of Stowers and other cases discussing extra-contractual liability is irrelevant to Ryan Law’s

breach of contract claim upon which NYM moved, and on which Magistrate Judge Hightower

issued her Report and Recommendations. Stowers provides an additional, common law remedy

when an insurer fails to settle, and an insured is left with an underlying judgement in excess of

policy limits. Stowers Furniture Co. v. Am. Indem Co., 15 S.W.2d 544 (Tex. Com. App. 1929).

Stowers is not a limitation on an insured’s right to seek contractual or statutory damages under

Chapter 41 of the Texas Insurance Code. See Rocor Intern., Inc. v. Nat’l Union Fire Ins. Co. of

Pittsburgh, PA, 77 S.W.3d 253, 259-62 (Tex. 2002) (permitting an insured to recover its

additional defense costs as statutory damages under Chapter 541’s predecessor statute, rejecting

the argument that Stowers was the only extra-contractual remedy). NYM has cited not a single

case to support its argument that Stowers can be used to limit an insured’s contractual policy

rights.    NYM’s discussion of Stowers in the context of Ryan Law’s contractual claims is

misplaced, and Magistrate Judge Hightower was correct in disregarding it.

          The only issue before the Court is whether Magistrate Judge Hightower correctly

concluded that (a) NYM is required to show it was prejudiced in order to rely on the Policy’s

consent-to-settle clause, and (b) NYM failed to submit any summary judgment evidence

demonstrating prejudice. Dkt 42 (Report and Recommendation). For the reasons that follow,

the answer to both issues is “yes.”

PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                             PAGE 3
           Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 4 of 11




B.       NYM Must Demonstrate It Was Prejudiced By Ryan Law’s Breach Of The
         Consent Clause.

         NYM does not identify any error in Magistrate Judge Hightower’s well-reasoned opinion

regarding the evolution of the state and federal case law with respect to an insurer’s obligation to

demonstrate prejudice when relying on the consent-to-settle clause. Rather, NYM uses its

Objection as a basis to re-argue the same points made in its summary judgment motion, which

were rejected by Magistrate Judge Hightower.                   For example, NYM re-urges that Motiva

Enterprises, LLC v. St. Paul Fire & Marine Ins. Co., 445 F.3d 381, 386 (5th Cir. 2006) is

controlling, but does not respond to Magistrate Judge’s Hightower’s conclusion that Motiva “did

not hold that Texas law does not require a showing of prejudice from a breach of the Policy,”

and that subsequent to the Fifth Circuit’s decision in Motiva, “the Texas Supreme Court and the

Fifth Circuit both issued opinions clarifying that Texas law requires an insurer to show that an

insured’s breach of a consent-to-settlement provision prejudiced the insurer.” (Dkt. 42 at 11-12).

NYM does not identify any error in this conclusion (nor could it).1 Rather, NYM tries to

distance itself from these cases on the facts. Its argument falls flat.

         In Lennar, the insurer argued, like NYM does here, that the consent-to-settle condition

was “essential to coverage” because it was also expressed in the insuring agreement itself in

addition to a stand-alone condition. Lennar, 413 S.W.3d at 756. The Texas Supreme Court

rejected this argument, concluding that there was no material difference between the requirement

that was contained in the insuring clause and the consent-to-settle condition and that both

“operate[] identically.” Id.; see also PAJ, 243 S.W.3d at 635 (refusing to distinguish between

notice requirements in covenants and conditions). NYM has not demonstrated why its consent-


1
 Magistrate Judge Hightower also identifies other Fifth Circuit opinions indicating support for this rule. (Report at
14). For the sake of brevity, Ryan Law does not re-address those here.

PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                                PAGE 4
           Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 5 of 11




to-settle condition should be treated differently than Lennar and PAJ or any other case

containing the same clause.

        In Hernandez, the Texas Supreme Court stated explicitly that “an insurer may escape

liability on the basis of a settlement-without-consent exclusion only when the insurer is actually

prejudiced by the insured’s settlement with the tortfeasor.” Hernandez, 875 S.W.2d at 692.

While NYM attempts to distinguish Hernandez by noting that the insured was postured as the

plaintiff in the underlying liability case, the Texas Supreme Court and numerous other courts

have later acknowledged this same rule when an insured settles as a defendant. See Lennar, 413

S.W.3d at 755 (adopting the Hernandez prejudice rule when Lennar settled with various

claimants); Ins. Co. of N. Am. v. McCarthy Bros. Co., 123 F. Supp. 2d 373 (S.D. Tex. 2000)

(finding insurer of general contractor who settled claim against it must establish prejudice in

order to enforce “consent to settle” condition); Coastal Ref. & Mktg., Inc. v. U.S. Fid. & Guar.

Co., 218 S.W.3d 279, 295 (Tex. App.—Houston [14th Dist.] 2007, pet. denied) (insurer of

refinery company required to demonstrate prejudice to avoid insured’s settlement with claimant,

although insurer had little notice and opportunity to participate in settlement).2

        NYM cites two opinions which it argues are “controlling” on this issue.                          Nicholas

Petroleum, Inc. v. Mid-Continent Cas. Co., 2015 WL 4456185 (Tex. App.—Dallas July 21,

2015); Blanco W. Properties, L.L.C. v. Arch Specialty Ins. Co., 773 F. App’x 795 (5th Cir.

2019). These cases are not relevant, much less controlling. Both cases are late-notice cases in

claims-made policies, where notice was given after the deadline to report had expired. They do

not address the consent-to-settle provision. See Nicholas Petroleum, 2015 WL 4456185, at *5

2
  NYM attempts to distinguish Coastal Refining by arguing that the insurer there was not defending. That is because
the insurer only received notice ten days before the case was settled. Id. at 282-83. If an insurer who had only ten
days’ notice and no opportunity to participate in settlement is required to demonstrate prejudice, so too must NYM,
who had ample opportunity to examine the underlying facts and the case against Ryan Law.

PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                               PAGE 5
          Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 6 of 11




(Tex. App.—Dallas July 21, 2015, no pet.) (claims-made policy did not require insurer to

demonstrate prejudice where late notice was given outside the 30-day window); Blanco W.

Properties, 773 Fed. Appx. 795, 796 (5th Cir. 2019) (no showing of prejudice required where

policy included claims-made endorsement which stated it “shall not provide coverage” for claims

that are reported more than one year after the date of loss or damage). Texas courts have made

clear that late-notice is analyzed differently in claims-made policies, because the “benefit of the

bargain” is a much cheaper policy which only covers claims made during the policy period. See

Prodigy Communications Corp. v. Agric. Excess & Surplus Ins. Co., 288 S.W.3d 374, 380 (Tex.

2009) (“[T]he requirement that the claim be made during the policy period is directed to the

temporal boundaries of the policy’s basic coverage terms. This type of notice is not simply part

of the insured’s duty to cooperate, but defines the limits of the insurer’s obligation, and if there is

no timely notice, there is no coverage.”). Thus, prejudice is not required in those late-notice

cases. No court has similarly analyzed a consent-to-settle clause. Moreover, construing the

consent-to-settle clause in such a manner would run directly afoul with Hernandez, Lennar and

its progeny.

       There is no Erie guess required here, as NYM urges. Clear Texas Supreme Court

precedent supports the opinions of Magistrate Judge Hightower.

C.     NYM Failed To Submit Any Summary Judgment Evidence Demonstrating
       That It Was Prejudiced From The Breach Or Would Have Obtained A More
       Favorable Result.

       As it failed to do in its summary judgment motion, NYM has likewise not demonstrated

any evidence of prejudice in its Objection. Instead, NYM argues that it was “deprived of its

contractual right to try the case,” (Dkt. 48 at 11), which is the same argument considered and

rejected by Magistrate Judge Hightower:


PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                   PAGE 6
          Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 7 of 11




       NYM argues that it was prejudiced as a matter of law by Ryan Law’s breach of
       the notice-of-consent provision because “Ryan Law unilaterally entered into a
       settlement over New York Marine’s objection and deprived New York Marine of
       the right to defend Ryan Law through trial and the opportunity to obtain a far
       more favorable result.” Dkt. 18 at 17. NYM, however, has not come forward
       with any summary judgment evidence that it was prejudiced from the breach or
       that it would have obtained a more favorable result.

Dkt. 42 at 15. NYM’s argument that it was deprived of its opportunity to try the case is the same

argument—already rejected by Magistrate Judge Hightower and other courts—in a different

wrapper. See Coastal Ref., 218 S.W.3d at 291 n.14 (“If the abstract loss of the rights to

investigate, defend, participate in, and control settlement negotiations were sufficient to show the

necessary prejudice, then delaying notice to the primary insurer until after settlement would

always result in forfeiture of coverage, because the settlement would necessarily foreclose the

insurer’s participation. But a review of the cases shows that Texas law does not presume

prejudice merely from settlement without the insurer's consent.” (citing cases)).

       NYM has argued that it was deprived of its right to try the case; therefore, NYM must

show that NYM would have obtained a more favorable result at trial. See Lennar, 413 S.W.3d at

755-56 (rejecting the claim that an insurer is prejudiced as a matter of law when it is “told it has

to pay for a voluntary payment” and noting that Markel was unable to demonstrate at trial that

“had Lennar stonewalled the homeowners, fewer repairs would have been made”); Coastal Ref.,

218 S.W.3d 279, 295 (insurer’s claim of prejudice by being excluded from the “defense and

settlement process” was not sufficient, where insurer could not demonstrate that it could have

obtained a better settlement). Having put no evidence forward of its prejudice, Magistrate Judge

Hightower was correct in denying NYM’s motion for summary judgment. See FED. R. CIV. P.

56(c) (summary judgment is proper when “the pleadings, the discovery and disclosure materials




PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                PAGE 7
           Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 8 of 11




on file, and any affidavits show that there is no genuine issue as to any material fact and that the

movant is entitled to judgment as a matter of law”).

         NYM criticizes Magistrate Judge Hightower for failing to acknowledge Motiva

(Objection at 12), but Motiva’s finding of prejudice was based on facts entirely different than

those present here.        In Motiva, “the insurer [was] not consulted about the settlement, the

settlement [was] not tendered to it and the insurer ha[d] no opportunity to participate in or

consent to the ultimate settlement decision.” Motiva, 445 F.3d at 386.3 Here, Ryan Law gave

NYM notice of potential liability, assisted NYM with its investigation, kept NYM apprised of

developments in the litigation, provided NYM with progress reports on settlement negotiations,

tendered the settlement demands to NYM, and gave NYM multiple opportunities to settle. See

Dkt. 45, Ex. A (filed under seal). Consequently, NYM’s reliance on Motiva is unavailing. See

Coastal Ref., 218 S.W.3d at 291 (“[Motiva’s] narrow conclusion was based on widely different

facts than those presented here.”).

         NYM’s other cited authorities are equally inapplicable and were rightly disregarded by

Magistrate Judge Hightower. First, with the exception of one,4 all the cases NYM cites in its

Objection (p 12-13) are late-notice-prejudice cases, they do not analyze the consent-to-settle

clause. None of the cases therefore considered the binding precedent set by Lennar.



3
  NYM’s reliance on Tex. Farmers Ins. Co. v. Kurosky, 2015 WL 4043278, at *6 (Tex. App.—Fort Worth July 2,
2015, no pet.), fails for this same reason. Kurosky is an unreported case in which an insured and his daughter agreed
to a final judgment without the carrier’s knowledge or participation. Kurosky involved Gandy concerns over
whether there was actually a “fully adversarial trial,” which are obviously not present here. See id. at *6 (“There is
no evidence that any party put on evidence in the trial court regarding the amount of Rust's damages or the
reasonableness of the agreed judgment.”).
4
  Progressive County Mut. Ins. Co. v. Trevino, 202 S.W.3d 811, 818 (Tex. App.—San Antonio 2006, pet. denied)
examined a breach of the cooperation clause, not the consent clause, and found that where the insured actively
undermined and prohibited his retained defense counsel from properly representing him and avoiding a judgment,
the insurer was prejudiced). The comparison to these facts does not hold up. Here, Ryan Law fully cooperated with
NYM and indeed begged NYM to settle the liability facing it.

PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                                PAGE 8
          Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 9 of 11




       Second, because there was no timely notice to the insurer in the below cases, the insurer

did not have an opportunity to participate in the defense, develop any facts needed for a coverage

analysis, develop an analysis of the potential risk against the insured, participate in mediation, or

consider settlement offers made. Here, NYM had the opportunity to do all of that. See Dkt. 45,

Ex. A (filed under seal).

       Third, in each case, the insurer identified specific evidence demonstrating how it was

prejudiced by the late notice:

   •   Clarendon Nat. Ins. Co. v. FFE Transp. Services, Inc., 176 Fed. Appx. 559, 561
       (5th Cir. 2006) (insurer demonstrated actual prejudice from lack of notice by
       showing that there was an offer to settle of $700,000, the insured refused without
       notice to the insurer, and ultimately received a judgment against it for $1.1
       million)

   •   Berkley Reg’l Ins. Co. v. Philadelphia Indem. Ins. Co., 690 F.3d 342, 351 (5th
       Cir. 2012) (where excess insurer was not given notice until after the jury verdict
       was entered, and insurer provided evidence of how it would have participated in
       the case and mediation, insurer was not entitled to a finding that as a matter of law
       it was prejudiced, but rather it was remanded as a fact issue for the jury)

   •   Berkley Reg’l Ins. Co. v. Philadelphia Indem. Ins. Co., 600 Fed. Appx. 230, 236
       (5th Cir. 2015) (affirming that, based on the evidence submitted by the insurer as
       to its prejudice and because no contrary showing was made by the insured, the
       excess insurer was prejudiced as a matter of law)

   •   Gonzalez v. Philadelphia Indem. Ins. Co., 663 Fed. App’x 302, 306 (5th Cir.
       2016) (UIM insurer that was not given notice of settlement identified the
       prejudice it suffered by the settlement and collection of UIM benefits as its lost
       ability to determine whether the tortfeasor or other insurers covering him had
       assets that would have reduced insurer’s UIM obligation)

   •   Sentry Select Ins. Co. v. Lopez, 2015 WL 11439075, at *5 (W.D. Tex. May 6,
       2015) (no duty to defend where suit was not tendered to insurer until after
       judgement; insurer demonstrated prejudice in that it lost the right to investigate, to
       contribute to defense strategy, participate in the lawsuit, evaluate settlements
       demands and otherwise represent its interests)

Here, NYM identified no prejudice other than a claimed lost right to roll the dice and try the case

against the insured under a reservation of rights (and then potentially disclaim coverage after the

PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                                 PAGE 9
         Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 10 of 11




verdict). This abstract loss of the right to control the defense is not sufficient evidence of

prejudice. Coastal Ref., 218 S.W.3d at 291 n.14. For all of these reasons, NYM’s cited

authority is inapplicable.

       NYM has failed to demonstrate any specific prejudice, either through a better verdict or a

better settlement. As such, Magistrate Judge Hightower correctly concluded that NYM’s motion

for summary judgment should be denied.

                                       III.     PRAYER

       Magistrate Judge Hightower’s Report and Recommendation is a well-reasoned and fully-

supported opinion. NYM has not demonstrated any error in her analysis. Rather, it has simply

re-urged its prior arguments which were considered and rejected by Magistrate Judge Hightower.

Therefore, Ryan Law respectfully requests that the Court adopt Magistrate Judge Hightower’s

Report and Recommendations and issue an order denying NYM’s Motion for Summary

Judgment (Dkt. 18) consistent with her findings.

                                              Respectfully submitted,


                                              Ernest Martin, Jr.
                                              Ernest Martin, Jr.
                                              State Bar No. 13063300
                                              ernest.martin@haynesboone.com
                                              Natalie DuBose
                                              State Bar No. 24077481
                                              Natalie.dubose@haynesboone.com
                                              HAYNES AND BOONE, L.L.P.
                                              2323 Victory Ave., Suite 700
                                              Dallas, Texas 75219
                                              Telephone:     (214) 651-5000
                                              Telecopier: (214) 541-5940

                                              ATTORNEYS FOR PLAINTIFF
                                              RYAN LAW FIRM, LLP



PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                            PAGE 10
            Case 1:19-cv-00629-RP Document 55 Filed 08/13/20 Page 11 of 11




                               CERTIFICATE OF SERVICE

       This is to certify that on August 13, 2020, a true and correct copy of the above and
foregoing document was electronically served upon the following counsel of record as
authorized by the Federal Rules of Civil Procedure:

         Roberta J. Benson
         roberta.benson@thebensonfirm.com
         Ricky H. Rosenblum
         rick.rosenblum@thebensonfirm.com
         Michael J. McClain
         michael.mcclain@thebensonfirm.com
         THE BENSON FIRM PLLC
         11401 Century Oaks Terrace, Suite 245
         Austin, Texas 78758
         Telephone: (512) 774-6062
         Facsimile: (512) 774-6072

         Attorneys for Defendant NYM Insurance Company



                                           /s/ Ernest Martin, Jr.
                                           Ernest Martin, Jr.

4829-7624-1095 v.3




PLAINTIFF RYAN LAW FIRM, LLP’S RESPONSE TO
DEFENDANT’S OBJECTION TO THE REPORT AND
RECOMMENDATION OF MAGISTRATE JUDGE HIGHTOWER                                      PAGE 11
